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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ANNA MELIS,

       Plaintiff,                                                  Case No.: 1:25-cv-04201

v.                                                                 Judge Charles P. Kocoras

THE PARTNERSHIPS AND UNINCORPORATED                                Magistrate Judge Jeffrey Cole
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                   DEFENDANT
                 2                                 NaRHbrg Fashion
                 3                                      PLzegus
                 4                                    chengyunnan
                11                                      FGQuelle
                13                                    OrangeChen
                18                       ⭐⭐⭐⭐⭐2025TRENDYCLOTH
                21                                       JIOEEH
                23                     Black Friday Christmas Winter season zwhy
                24                                    iSeeFlowers
                25                                 WANWANBABY
                26                                    Huakai Trade
                27                                 XEDZYT Clothing
                31                                         Japea
                34                                 Mysterious power
                35                                  Couture Carousel
                43                               Happy Childhood Fun
                45                                   Xiao RI Local
                46                                     ideaT local
                51                                        HNHJ
                54                                CHEERFUL GIRLS
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             55                              Feifan design
             59                               Black spider
             65                     Mercury Ni Shower Curtain House
             72                               AGUMEDA
             73                                PULLYsss
             74                             RICHDUODUO
             83                              Tour De Force
             92                               NBS SHOP
             99                          YIY diamond painting
            101                               Angle KaKa
            103                              Elegant Daina


DATED: May 22, 2025                        Respectfully submitted,

                                           /s/ Keith A. Vogt
                                           Keith A. Vogt (Bar No. 6207971)
                                           Keith Vogt, Ltd.
                                           33 W. Jackson Blvd., #2W
                                           Chicago, Illinois 60604
                                           Telephone: 312-971-6752
                                           E-mail: keith@vogtip.com

                                           ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on May 22, 2025 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
